                             UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION – DETROIT

 IN THE MATTER OF:
                                                         CHAPTER 13
 Darius L. Hatchett                                      CASE NO. 21-43685
                                                         JUDGE: Randon
                      Debtor(s).
 ________________________________/

                                           ORDER ADJOURNING HEARING

        This matter having been set for hearing on October 6, 2021, regarding
        [ONLY PROVISIONS CHECKED BELOW SHALL APPLY]:
    confirmation of a plan

The parties having agreed to the terms herein, based on the records of the Court, the Court being otherwise
sufficiently advised in the premises; and there being no adverse impact upon any party by way of this action, thus no
notice is required to be given; now therefore;

        IT IS HEREBY STIPULATED that:
        [ONLY PROVISIONS CHECKED BELOW SHALL APPLY]:
    The above referenced matter is adjourned to February 9, 2022 @ 12:00 PM.

    The Debtor shall provide updated adequate proof of insurance to Creditor’s counsel for the 2015 Toyota Rav4 by
January 15, 2022. In the event the Debtor fails to timely provide insurance, then Credit Acceptance Corporation may
submit a Notice of Default to vacate the automatic stay with a waiver of Rule 4001(a)(3).


Approved per Local Rules (E.D.M.):                    Approved as to form and content:

 /s/ Margaret Conti Schmidt___________________        __/s/ Dario Ianni_________________
 Krispen S. Carroll (P49817)                          Attorney for Debtor
 Margaret Conti Schmidt (P42945)                      Dario Ianni (P67517)
 Maria Gotsis (P67107)                                Christopher M. Carey (P57517)
 Chapter 13 Trustee                                   Carey Law Group, PC
 719 Griswold                                         23930 Michigan Ave
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 /s/ Stephen J Beard_______________________
 Stephen J. Beard (P76575)
 Attorney for Credit Acceptance Corporation
 Kilpatrick & Associates


Signed on October 12, 2021




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